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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    IN RE:                     )                 CASE NO.: 21-57126
                               )
    MICHAEL ANTHONY THOMAS and )                 CHAPTER 13
    MARGARET QUINONES,         )
                               )
                               )
               Debtors.        )

                       DEBTOR’S CHANGE OF ADDRESS

                     Updated address(es) for:   MICHAEL ANTHONY THOMAS
 Physical Address:   3045 Millpine Court
                     Buford, Georgia 30519
                     (NO CHANGE)
 Mailing Address:    Same as physical address
                     Updated address(es) for:   MARGARET QUINONES
 Physical Address:   2220 Executive Dr
                     Duluth, Georgia 30096


 Mailing Address:    Same as physical address


 Furnished by:       BERRY & ASSOCIATES
                     2751 Buford Highway
                     Suite 600
                     Atlanta, Georgia 30324


 Date:               September 6, 2022
